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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

________________________________
                                                           Civil No. 12-cv-0472 RHK/JJK
Jesse Ventura, a/k/a James G. Janos,

                          Plaintiff,

vs.                                                     Stipulation Regarding Stay of
                                                        Execution on Judgment
Taya Kyle, as Executor of the Estate of
Chris Kyle,

                   Defendant.
________________________________

       IT IS HEREBY STIPULATED AND AGREED by and between the parties that

the automatic stay of execution on the judgment in this case (Doc. 392) under Fed. R.

Civ. P. 62(a) may be extended through August 29, 2014, and that the Court may enter the

order attached hereto as Exhibit 1 without further notice or a hearing.
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Stipulated to:


Dated: August 18, 2014
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